Case 5:18-cr-00258-EJD Document 40-3 Filed 09/07/18 Page 1 of 3




                       EXHIBIT B
           Case 5:18-cr-00258-EJD Document 40-3 Filed 09/07/18 Page 2 of 3
                                                                          Suite 2200
                                                                          1201 Third Avenue
                                                                          Seattle, WA 98101-3045

                                                                          Jeffrey B. Coopersmith
                                                                          206-757-8020 tel
                                                                          206-757-7020 fax

                                                                          jeffcoopersmith@dwt.com




August 31, 2018


Jeff Schenk
John Bostic
Assistant United States Attorneys
U.S. Attorney’s Office, Northern District of California
150 Almaden Blvd. Suite 900
San Jose, CA 95113
Jeffrey.B.Schenk@usdoj.gov
John.Bostic@usdoj.gov

Re:      United States v. Holmes and Balwani, Case No. cv-18-00258-LHK (N.D. Cal.)

Dear Jeff and John:

We understand that your office has been in contact with counsel for Theranos regarding the
additional production of documents in response to a grand jury subpoena issued to the company
in 2017. We understand that the company has recently made arrangements to produce a large
number of documents in addition to those produced prior to the indictment, and that there is also
a large number of potentially responsive documents that, based on search terms, are likely
privileged. We are writing because we are concerned about the government’s post-indictment
use of the grand jury process, particularly in this case where we understand that the company
does not wish to waive its attorney client privilege.

It is well-established that a grand jury has “but two functions—to indict, or in the alternative, to
return a ‘no-bill.’” THE UNITED STATES ATTORNEY’S MANUAL (“USAM”), § 9-11.101 (Power
and Limitations of Grand Juries-The Functions of a Grand Jury). The grand jury’s subpoena
power is thus “limited by its function,” id. § 9-11.120, and the government “may not use the
grand jury for the sole purpose of pretrial discovery.” In re Grand Jury Proceedings, 911 F.2d
738 (9th Cir. 1990) (finding that the government abuses the grand jury process by using a grand
jury subpoena “to conduct discovery or to prepare the pending indicted cases for trial”); United
States v. Star, 470 F.2d 1214, 1217 (9th Cir.1972); (“[T]he government should not use the grand
jury for the sole purpose of pretrial discovery in cases in which an indictment has already been
returned.”).

Section 9-11.120 of the USAM further states:

         The grand jury’s power, although expansive, is limited by its function toward possible
         return of an indictment. Costello v. United States, 350 U.S. 359, 362 (1956).
4815-5395-9025v.1 0103509-000002
             Case 5:18-cr-00258-EJD Document 40-3 Filed 09/07/18 Page 3 of 3




Jeff Schenk
John Bostic
August 31, 2018
Page 2


           Accordingly, the grand jury cannot be used solely to obtain additional evidence against a
           defendant who has already been indicted. United States v. Woods, 544 F.2d 242, 250 (6th
           Cir. 1976), cert. denied sub nom., Hurt v. United States, 429 U.S. 1062 (1977). Nor can
           the grand jury be used solely for pre-trial discovery or trial preparation. United States v.
           Star, 470 F.2d 1214 (9th Cir. 1972). After indictment, the grand jury may be used if its
           investigation is related to a superseding indictment of additional defendants or additional
           crimes by an indicted defendant. In re Grand Jury Subpoena Duces Tecum, Dated
           January 2, 1985, 767 F.2d 26, 29-30 (2d Cir. 1985); In re Grand Jury Proceedings, 586
           F.2d 724 (9th Cir. 1978).

Here, we understand that the grand jury subpoena was issued in 2017, long before the grand jury
returned an indictment of Ms. Holmes and Mr. Balwani. Accordingly, by definition any further
production pursuant to the subpoena is not tied to the functions of the grand jury—to indict or
return a no-bill. The document requests in the subpoena of which we are aware are broad and the
subpoena was issued some nine months before indictment, strongly indicating that the subpoena
was not issued in connection with any consideration to supersede the indictment. Moreover, the
problematic issues associated with the government’s efforts at post-indictment enforcement of
the subpoena are compounded by the intrusion on the attorney-client privilege in circumstances
where Theranos likely lacks the resources for a document-by-document privilege review of
potentially responsive documents.

We think the proper course here is for the government to cease its post-indictment subpoena
enforcement efforts. Thank you for your attention to this matter, and we look forward to hearing
from you.

Sincerely,
      /s/ Jeffrey B. Coopersmith


Jeffrey B. Coopersmith
Mark N. Bartlett
Davis Wright Tremaine LLP
Counsel for Ramesh Balwani


cc:        Michael Mugmon
           David Taylor



4815-5395-9025v.1 0103509-000002
